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                             UN[TED STATES DISTRICT COURT
                                DiSTRICT OF NEW JERSEY



  L’NIIFD STATES OF AMERICA                         *    I Ion Steven C, Mannion, I S.MJ.

             V.                                          :vlag. Nu. 14-6051

 CHRISTIAN TOURRELLAS, et al.                            ORDER FOR CONTINUANCE



        This matter having been opened to the Court by Paul 3. Fishman, United States Attorney

 for the District of New Jersey (Elizabeth M. Harris. Assistant United Slates Attorney, appearing).

 and the defendant Christian Tourrellas (Michael .1. Pappa, Esq., Counsel for Defendant,

 appearing), for an order granting a continuance of the proceedings in the above-captioned matter;

 and Defendant being aware that he has the right, under 18 U.S.C. § 3161(b), to have the matter

 presented to a Grand Jury within thirty (30) days of his arrest; and the Defendant through his

 attorney having consented to the contlnuance, and no prior continuances having been granted by

 the Court: and for good and sufficient cause shown,

        IT IS THE FINDiNG OF THIS COURI’ that this action should be continued for the

 following reasons:

        I.        Plea negotiations currently are in progress. and both the United States and the

                  Defendant seek additional time to achieve successful resolition of these

                  negotiations, n hich would rancer tilal of thU matiar unnees,ary.

        2.        Defendant has consented to the aforememioned continuance.

       3.         The grant of a continuance will likely conserve judicial resources
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         4.      Pursuant to I ide 1 8 of the   nited States Code. Sec:ion J 161 (i:(7 a AL the nis of

                justice served by granting the cunhinuan ouTweigh the best interests of the

                 public and the Defean i:         sreed triI,

         WFIEREFORE, it is on this (/ day of November, 2014,

         ORDERED that the rroceedings in the abovee
                                             Lio:ed matter are continued tErn
                                             1

  November 13, 2014 to .January 13. 2t) I ; and

         IT IS Ft 1
                  RTI IER ORDERED that :1w ah’rernentioneJ period sh he ec1udahIe in

 computing time under the Speedy Trial Act of 1974.

                                                                              K




                                                        lION.        N C. MANNION
                                                        United States Magistrate Judge


 Consented and Agreed to by:
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 Michael
 Counsel for Defendant




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 Assistant United States Attorney
